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      5                             IN THE UNITED STATE DISTRICT COURT,

      6                           FOR THE EASTERN DISTRICT OF CALIFORNIA

      7
          UNITED STATES OF AMERICA,               ) Case No. CR-08-00224-OWW
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                                                  )
      9               Plaintiff,                  )
              vs.                                 ) ORDER PROVIDING GUIDELINES FOR
     10                                           ) EVALUATION OF THE DEFENDANT BY
          ROBERT HOLLOWAY, et. al.,               ) GOVERNMENT EXPERT
     11
                                                  )
                      Defendants.                 ) Date: May 18, 2009
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                                                  ) Time: 2:00p.m.
     13                                           ) Place: Honorable Oliver W. Wanger
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               Upon the request of counsel, and GOOD CAUSE APPEARING THEREFROM,

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          IT IS HEREBY ORDERED that the evaluation of defendant Robert C. Holloway by the

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          government’s doctor, currently scheduled for May 12, 2009 at 9am, shall be conducted as follows:

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                 1.      The examination of the defendant shall be confined to the pertinent issues of

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          whether defendant’s physical, mental, and / or emotional well being has been detrimentally

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          affected by pretrial confinement in the Fresno County Jail, and whether such confinement, in light

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          of his condition, may impair defendant’s ability to fully and effectively participate in his defense;

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                 2.      Whether any such difficulties can be lessened or alleviated by placement in an

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          appropriate community confinement facility such as Turning Point, in Fresno, California;

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                 3.      The defendant shall not be examined on, or asked about, incidents or issues

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          involved in the criminal prosecution of the case. The doctor shall issue no opinion on such issues;

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                 4.      Counsel for the defendant is permitted to be present for any and all examinations of

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          the defendant if the examining physician agrees.

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          DATE: May 11, 2009                                     /s/ OLIVER W. WANGER
                                                                 Honorable Oliver W. Wanger ,
     28                                                          United States District Court Judge
          _______________________________________________________________________________________________
          [ P r o p o s e d ] O r d e r Providing Guidelines for Evaluation of the Defendant by Government Expert;
          [N o. CR-0 8-00224- OWW]
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